          Case 2:17-mj-00367-MAT           Document 15        Filed 09/06/17     Page 1 of 3




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 17-367
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   DAVID DEMARIUS ROUTE,                )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Felon in Possession of a Firearm

15 Date of Detention Hearing:     September 6, 2017.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.     Defendant is charged by Complaint with being in possession of a firearm, being

22 a prohibited person due to previous convictions for felony offenses in this court as well as the



     DETENTION ORDER
     PAGE -1
             Case 2:17-mj-00367-MAT          Document 15       Filed 09/06/17      Page 2 of 3




01 Superior Court for the State of Washington for King County.

02            2.      Defendant does not contest entry of an Order of Detention. He has waived an

03 interview by Pretrial Services.

04            3.      Defendant poses a risk of nonappearance based on lack of verified background

05 information, a history of noncompliance on supervision, a history of substance and alcohol use,

06 a history of failing to appear, and pending charges alleging violation of supervised release.

07 There is also an outstanding warrant from King County Superior Court. Defendant poses a

08 risk of danger based on the nature of the offense and criminal history.

09            4.      There does not appear to be any condition or combination of conditions that will

10 reasonably assure the defendant’s appearance at future Court hearings while addressing the

11 danger to other persons or the community.

12 It is therefore ORDERED:

13 1. Defendant shall be detained pending trial, and committed to the custody of the Attorney

14         General for confinement in a correction facility separate, to the extent practicable, from

15         persons awaiting or serving sentences or being held in custody pending appeal;

16 2. Defendant shall be afforded reasonable opportunity for private consultation with counsel;

17 3. On order of the United States or on request of an attorney for the Government, the person

18         in charge of the corrections facility in which defendant is confined shall deliver the

19         defendant to a United States Marshal for the purpose of an appearance in connection with a

20         court proceeding; and

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22 / / /



     DETENTION ORDER
     PAGE -2
          Case 2:17-mj-00367-MAT          Document 15       Filed 09/06/17     Page 3 of 3




01 4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel for

02      the defendant, to the United States Marshal, and to the United State Probation Services

03      Officer.

04         DATED this 6th day of September, 2017.

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06                                                      A
                                                        Mary Alice Theiler
07                                                      United States Magistrate Judge

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     DETENTION ORDER
     PAGE -3
